   Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 1 of 31




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

FIRE PROTECTION SERVICE, INC.,        §
   Plaintiff,                         §
                                      §
     v.                               §    CIVIL ACTION NO. 4:19-cv-02162
                                      §
                                      § Hon. Judge Nancy F. Atlas, District Judge
SURVITEC SURVIVAL                     §
PRODUCTS, INC.,                       §
  Defendant.                          §




          Survitec’s Trial Brief on Applicability and Constitutionality of
                Texas Business & Commerce Code § 57.001 et seq.
       Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 2 of 31




                                                  TABLE OF CONTENTS
Index of Authorities ............................................................................................................. ii
I.    Nature and State of the Proceedings ............................................................................. 1
II. Issues ............................................................................................................................. 2
III. Partial Findings of Fact ................................................................................................. 3
IV. Rule 52(c) Legal Standard ............................................................................................ 3
V. Summary of Argument ................................................................................................. 4
      A. The Act’s Scope ..................................................................................................... 4
      B. The Act’s Constitutionality .................................................................................... 4
VI. Argument ...................................................................................................................... 6
      A. The Act does not apply to the parties’ dealership agreement because
         Survitec’s products are not “Equipment” under the Act. ....................................... 6
         1. Survitec’s products are not “Equipment” as defined under the Act. ............... 6
         2. Survitec’s product are not “Equipment” under the Act as amended in
            2019. ................................................................................................................ 7
      B. The Act would constitute unconstitutional retroactive legislation under the
         Texas constitution if applied to the parties’ dealership agreement. ....................... 8
            1. The Act ............................................................................................................ 9
            2. The Act is unconstitutional if applied to the parties’ agreement. .................. 10
               a. The Act is retroactive. ............................................................................. 10
               b. Retroactive application of the Act to the parties’ agreement violates
                  Article I § 16 of the Texas Constitution. ................................................ 13
                  i. The nature of the prior right impaired by the statute: here, the
                       right was longstanding, vested, and mutual. .................................... 14
                  ii. The extent of the impairment: here, the right was completely
                       eliminated and there was no “grace period” to preserve it. ............. 15
                  iii. The nature and strength of the public interest served by the
                       statute as evidenced by the Legislature’s factual findings: here,
                       there were no findings. ..................................................................... 18
                               (a) The “public” interest was not compelling; it was special interest
                                   group politics. .................................................................................... 19
                               (b) The Legislature’s passage of the Act was unsupported by any
                                   factual findings. ................................................................................. 22
VII.Conclusion .................................................................................................................. 24
Certificate of Service ......................................................................................................... 26
                                                                    i
      Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 3 of 31




                                                Index of Authorities
Cases
Allied Structural Steel Co. v. Spannaus,
  438 U.S. 234 (1978) ................................................................................................ 16, 21
Associated Mach. Tool Techs. v. Doosan Infracore Am., Inc.,
  No. 4:15-CV-2755, 2015 WL 13660130 (S.D. Tex. Nov. 24, 2015) (unpub.) ............. 22
Barshop v. Medina County Underground Water Conservation Dist.,
  925 S.W.2d 618 (Tex. 1996) ......................................................................................... 20
Board of Regents v. Roth,
  408 U.S. 564 (1972) ...................................................................................................... 15
Bob Tatone Ford, Inc. v. Ford Motor Co.,
  197 F.3d 787 (6th Cir. 1999) ........................................................................................ 11
Bull Int’l, Inc. v. MTD Consumer Grp., Inc.,
  654 F. App’x 80 (3d Cir. 2016) ..................................................................................... 24
Chesapeake Operating, Inc. v. Denson,
  201 S.W.3d 369 (Tex. App.—Amarillo 2006, pet. denied) .......................................... 14
Century Marine Inc. v. U.S.,
  153 F.3d 225 (5th Cir. 1998) ........................................................................................... 4
City of Tyler v. Likes,
  962 S.W.2d 489 (Tex. 1997) ......................................................................................... 16
Cloverdale Equip. Co. v. Manitowoc Eng’g Co.,
  149 F.3d 1182 (6th Cir. 1998) (unpub.) ........................................................................ 24
Daly v. River Oaks Place Council of Co-Owners,
  59 S.W.3d 416 (Tex. App.—Houston [1st Dist.] 2001, no pet.) ..................................... 7
Dickson v. Navarro County Levee Improvement Dist. No. 3,
  139 S.W.2d 257 (Tex. 1940) ........................................................................................... 7
Energy Reserves Group, Inc. v. Kansas Power & Light Co.,
  459 U.S. 400 (1983) ...................................................................................................... 21
Equipment Manufacturers Institute v. Janklow,
  300 F.3d 842 (8th Cir. 2002) ........................................................................................ 21
Fairchild v. All Am. Check Cashing, Inc.,
  815 F.3d 959 (5th Cir. 2016) ........................................................................................... 4
Hodel v. Virginia Surface Min. & Reclamation Ass’n, Inc.,
  452 U.S. 264 (1981) ...................................................................................................... 23



                                                              ii
       Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 4 of 31




In re A.V.,
   113 S.W.3d 355 (Tex. 2003) ......................................................................................... 20
Jack Tyler Eng’g Co. v. SPX Corp.,
  294 F. App’x 176 (6th Cir. 2008) .................................................................................. 24
John Deere Const. & Forestry Co. v. Reliable Tractor, Inc.,
  957 A.2d 595 (Md. 2008) .............................................................................................. 12
Nafta Traders, Inc. v. Quinn,
  339 S.W.3d 84 (Tex. 2011) ..................................................................................... 18, 20
Nelson v. Weatherwax,
  59 S.W.3d 340 (Tex. App.—Fort Worth 2001, pet. denied) ......................................... 15
Northshore Cycles, Inc. v. Yamaha Motor Co.,
  919 F.2d 1041 (5th Cir. 1990) ....................................................................................... 12
Reliable Tractor, Inc. v. John Deere Constr. & Forestry Co.,
  376 F. App’x 938 (11th Cir. 2010) ................................................................................ 12
Robinson v. Crown Cork & Seal Co.,
  335 S.W.3d 126 (Tex. 2010) ............................................. 5, 8, 10, 11, 13, 14, 20, 21, 22
Sable Communications of California, Inc. v. F.C.C.,
  492 U.S. 115 (1989) ...................................................................................................... 23
State v. Gibson Products Co., Inc.,
  699 S.W.2d 640 (Tex. App.—Waco 1985, no writ) ....................................................... 8
Tenet Hosps. Ltd. v. Rivera,
  445 S.W.3d 698 (Tex. 2014) ................................................................................... 11, 16
Union Carbide Corp. v. Synatzske,
  438 S.W.3d 39, 58 (Tex. 2014) ..................................................................................... 16
Valley v. Rapides Parish School Bd.,
  118 F.3d 1047 (5th Cir. 1997) ......................................................................................... 4
Vartelas v. Holder,
  566 U.S. 257 (2012) ...................................................................................................... 11

Constitutions, Statutes, and Rules
FED. R. CIV. P. 12 ..................................................................................................................
FED. R. CIV. P. 52 ..................................................................................................................
FED. R. CIV. P. 56 ..................................................................................................................
H.B. 3079, 82nd Leg., Reg. Sess. (Tex. 2011), ch. 1039, §§ 1, 4 ............... 9, 10, 11, 16, 19
Texas Fair Practice of Equipment Manufacturers, Distributors, Wholesalers and
  Dealers Act (“the Act”), TEX. BUS. & COM. CODE § 57.001 et seq. ...................... passim
                                                                 iii
      Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 5 of 31




TEX. BUS. & COM. CODE § 37.154 ...................................................................................... 9
TEX. BUS. & COM. CODE § 57.001 .................................................................................. 1, 9
TEX. BUS. & COM. CODE § 57.002 .............................................................................. 3, 6, 7
TEX. BUS. & COM. CODE § 57.003 .................................................................................... 10
TEX. BUS. & COM. CODE § 57.154 ...................................................................................... 9
TEX. BUS. & COM. CODE § 57.155 ...................................................................................... 9
TEX. CONST., Art. XVI § 5 ................................................................................................ 20
TEX. CONST., Art. I § 16 ............................................................... 1, 2, 5, 10, 13, 22, 23, 24

Legislative History
Tex. S. Jour., 82nd Leg., Reg. Sess. No. 67 (Tex. May 25, 2011) .................................... 18

Other Authorities
Merriam-Webster Online Dictionary (www.merriam-webster.com) .................................. 8




                                                             iv
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 6 of 31




       Defendant Survitec Survival Products, Inc. (“Survitec”) submits the following trial brief in

support of its Motions for Judgment on Partial Findings presented at the bench trial of this matter.

I.     Nature and State of the Proceedings
       Plaintiff Fire Protection Service (“FPS”) has claimed that Survitec wrongfully

terminated FPS as an authorized dealer of Survitec’s marine safety and survival life rafts

and parts through a termination letter dated August 15, 2017, effective December 27, 2017.

Plaintiffs’ claims are based on the Texas Fair Practice of Equipment Manufacturers,

Distributors, Wholesalers and Dealers Act (hereinafter, “the Act”), TEX. BUS. & COM.

CODE § 57.001 et seq., which sets forth various conditions and limitations on the

termination of dealers by suppliers that are subject to the Act.

       In prior motions before the Court under Rules 12(b)(6), 52(c), and 56 of the Federal

Rules of Civil Procedure (“Rules”), which Survitec incorporates herein by reference,

Survitec argued that the Act could not be applied to the dealership agreement that previously

existed between it and FPS because (1) Survitec’s products are not “Equipment” under the

Act;1 and (2) the Act, if retroactively applied to the parties’ agreement (which was entered

before the effective date of the Act), would violate Article I § 16 of the Texas Constitution.2


1
  Doc. No. 5, Survitec’s Motion to Dismiss Pursuant to Federal Rule of Civil Procedure
12(b)(6); Doc. No. 23, Survitec Survival Products, Inc.’s Motion for Partial Summary
Judgment.
2
  Doc. No. 32, Survitec Survival Products, Inc.’s Motion for Partial Summary Judgment or
in the Alternative for Judgment on Partial Findings; Doc. No. 33, Defendant Survitec
Survival Products, Inc.’s Memorandum of Law in Support if Its Motion For Partial
Summary Judgment or in the Alternative Motion for Judgment on Partial Findings; Doc.
No. 34, Defendant Survitec Survival Products, Inc.’s Statement of Material Facts in
Support of Its Motion for Partial Summary Judgment or in the Alternative for Judgment on
Partial Findings.

                                                 1
      Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 7 of 31




       The Court denied Survitec’s Rule 12(b)(6) motion, stating that “the Court cannot

conclude as a matter of law that Survitec’s life rafts and parts do not fall within the Act’s

coverage of ‘equipment.’ ” Doc. No. 8 at 7. The Court also denied Survitec’s subsequent

Rule 56 motion on the issue, concluding that “[f]or purposes of the Act, Survitec’s life rafts

are equipment that can be used in connection with mining activities. Consequently, they

are within the Act’s definition of ‘equipment’ for purposes of coverage under the Act.”

Doc. No. 26 at 8. The Court denied Survitec’s subsequent Rule 56 motion on the

constitutionality issue as untimely (Doc. No. 39 at 3), but stated that “[t]he denial is without

prejudice to Defendant raising the issue at trial, if Defendant’s arguments are supported by

evidence admitted at trial and otherwise appropriate.” Id.3

       The bench trial of this matter began today (February 2, 2021), and this brief is

submitted in support of Survitec’s Rule 52(c) motions for judgment on partial findings that

it intends to assert at the close of FPS’s evidence and, if necessary, the close of evidence.

II.    Issues
       This brief concerns the following two issues, which Survitec intends to present to

the Court through Rule 52(c) motions:

       1. Does the Fair Practices of Equipment Manufacturers, Distributors,
          Wholesalers, and Dealers Act (“the Act”) apply to the parties’ dealership
          agreement?

       2. If so, does such application of the Act violate Article I § 16 of the Texas
          Constitution?



3
 The Court did not specifically rule on Survitec’s alternative request for judgment on
partial findings under Rule 52(c).

                                               2
       Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 8 of 31




III.    Partial Findings of Fact
        With respect to the first issue, Survitec’s Rule 52(c) motions are premised on the

Court making either of the following two findings of fact:

        1. Survitec’s marine safety and survival life rafts and parts are not
           “Equipment” under § 57.002(7)(A) of the Act.

        2. Survitec’s marine safety and survival life rafts are “off highway”
           vehicles.

        With respect to the second issue, Survitec’s Rule 52(c) motions are premised on the

Court making both of the following two findings of fact:

        3. Before September 1, 2011, FPS and Survitec entered a dealership
           agreement concerning FPS’s purchase and servicing of Survitec’s marine
           safety and survival life rafts that was terminable by either party for any
           reason (i.e., without “cause”).

        4. Since September 1, 2011, neither party sought to modify or purport to
           terminate the dealership agreement before Survitec’s August 15, 2017
           letter informing FPS that it was terminating the parties’ agreement
           effective December 27, 2017.

Survitec expects the evidence adduced at trial may support additional findings of fact

relating to the parties’ agreement but submits that the above findings are sufficient for a

legal determination of the presented issues.

IV.     Rule 52(c) Legal Standard
        Under Rule 52, a court may enter judgment after a party has been “fully heard” on

an issue. FED. R. CIV. P. 52(c). A court entering such judgment must find the necessary

facts specially and stating its conclusions of law separately. Id. However, this does not

require that the court set out findings on all factual questions that arise in a case. Valley v.

Rapides Parish School Bd., 118 F.3d 1047, 1053-54 (5th Cir. 1997); Century Marine Inc.


                                               3
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 9 of 31




v. U.S., 153 F.3d 225, 231 (5th Cir.1998) (“Rule 52(a) exacts neither punctilious detail nor

slavish tracing of the claims issue by issue and witness by witness.” (internal quotations

and citations omitted)). Instead, the court is just expected to give a clear understanding of

the analytical process by which ultimate findings were reached. Valley, 118 F.3d at 1053-

54. Importantly, “Rule 52(c), unlike Rule 50, does not require the district court to draw any

inferences in favor of the non-moving party and permits the court to make a determination

in accordance with its own view of the evidence.” Fairchild v. All Am. Check Cashing,

Inc., 815 F.3d 959, 964 (5th Cir. 2016) (internal quotation marks omitted)).

V.     Summary of Argument
       A.     The Act’s Scope
       For the reasons given in Survitec’s prior Rule 12 and Rule 56 motions and

incorporated herein by reference, Survitec’s marine safety and survival life rafts and parts

are not “Equipment” under the Act because they do not relate to any of the purposes

enumerated by the Act’s definition of equipment.

       In addition, Survitec’s marine safety and survival life rafts and parts are not

“Equipment” under the Act because in 2019, the Legislature amended the Act to exclude

“off highway” vehicles from the definition of “Equipment.” Because Survitec’s marine

safety and survival life rafts and parts are off-highway vehicles, they do not constitute

“Equipment” under the Act.

       B.     The Act’s Constitutionality
       For years, FPS was a dealer for Survitec under an agreement that allowed either

party to terminate the agreement at will, for any reason whatsoever. In August 2017,


                                             4
    Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 10 of 31




Survitec exercised that contract right and terminated the agreement. FPS contends that the

Act prohibited Survitec from terminating the agreement except for “good cause,” which

the Act generally defines to include specific breaches of the parties’ dealership agreement

by the supplier, so long as those breaches involve standards that the supplier also imposes

and enforces with respect to its other dealers.

       The Act’s “good cause” requirement means that a manufacturer can only preserve

a meaningful power to terminate a dealership is by creating detailed contractual provisions

to regulate a distributor’s performance. Moreover, even with such provisions, the Act still

prohibits a manufacturer from terminating a dealership agreement if the dealer wants or

needs to change its business model or even just wants to leave the geographic or product

markets entirely. Thus, if the Act is applied retroactively to the parties’ agreement, it

bestows unilateral and quasi-property like rights on FPS, thereby trapping Survitec into a

potentially permanent relationship it never contemplated and on terms to which it never

agreed.

       Applying the Act to the parties’ preexisting agreement violates Article I § 16 of the

Texas constitution, which imposes a “heavy” presumption that retroactive legislation is

unconstitutional absent a “compelling” public interest. See Robinson v. Crown Cork & Seal

Co., 335 S.W.3d 126, 138 (Tex. 2010).

       Here, application of the Act is retroactive because it alters a contractual right – the

ability to terminate for any reason – that Survitec had obtained before the Act. And the

Act’s impact on that right (taking the right away from Survitec while allowing FPS to retain

the right) was significant because Survitec’s termination right had previously been

                                              5
      Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 11 of 31




longstanding, fundamental to the relationship, and mutual. Application of the Act would

thus entirely eliminate the settled expectation that Survitec had: namely, that it could

terminate its relationship with FPS at any time for any reason. In addition, the Act provides

no grace period by which Survitec could have preserved its existing right to have an at-will

relationship.

        Finally, the Act was unsupported by a compelling public interest for two reasons:

first, the Legislature’s decision to benefit the economic interests of one group of private

businesses interest over those of another is not the type of political choice that constitutes

a public interest in the first place, let alone the “compelling” public interest required to

overcome the “heavy” presumption against retroactive legislation; second, the Legislature

made no evidentiary factual findings that could support such a choice, even if such a choice

were a permissible public interest.

VI.     Argument
A.      The Act does not apply to the parties’ dealership agreement because Survitec’s
        products are not “Equipment” under the Act.
1.      Survitec’s products are not “Equipment” as defined under the Act.
        As plaintiff, it was FPS’s burden to establish that the parties’ dealership agreement

fell with the scope of the Act. For the reasons explained in Survitec’s prior Rule 12(b)(6)

and Rule 56 motions (see supra note 1), the Act does not cover the parties’ dealership

agreement because the term “Equipment,” as defined in § 57.002(7)(A) of the Act, does

not include marine safety and survival life rafts.4 In support of this contention, Survitec


4
 See Act § 57.002(7) (defining “Equipment” to mean “means machinery, equipment, or
implements or attachments to the machinery, equipment, or implements used for, or in
                                              6
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 12 of 31




incorporates by reference its prior arguments regarding the inapplicability of the Act. Id.

       In addition, Survitec submits one additional reason that the Act does not cover the

parties’ dealership agreement:

2.     Survitec’s product are not “Equipment” under the Act as amended in 2019.
       In 2019, the Texas Legislature amended the Act to exclude “off-highway vehicles”

from the Act’s definition of equipment. In particular, in its current form, “Equipment”

under the Act “does not mean: (i) trailers or self-propelled vehicles designed primarily for

the transportation of persons or property on a street or highway; or (ii) off-highway

vehicles.” In other words, the Act now excludes some street/highway vehicles and all off-

highway vehicles from its definition of equipment. Because FPS’s legal claim for damages

in this suit arises under the Act, rather than under the parties’ contract, this legislative

change in the Act’s scope applies to this pending suit.5


connection with, any of the following purposes: (i) lawn, garden, golf course, landscaping,
or grounds maintenance; (ii) planting, cultivating, irrigating, harvesting, or producing
agricultural or forestry products; (iii) raising, feeding, or tending to livestock, harvesting
products from livestock, or any other activity in connection with those activities; or (iv)
industrial, construction, maintenance, mining, or utility activities or applications . . . .”).
5
  See Daly v. River Oaks Place Council of Co-Owners, 59 S.W.3d 416, 423 (Tex. App.—
Houston [1st Dist.] 2001, no pet.) (“What the legislature gives, it may take away, even
while a plaintiff’s judgment is pending on appeal. ‘It is almost universally recognized that
if a statute giving a special remedy is repealed, without a saving clause in favor of pending
suits, all suits must stop where the repeal finds them; and, if final relief has not been granted
before the repeal goes into effect, it cannot be granted thereafter. A like general rule is that
if a right to recover depends entirely upon statute, its repeal deprives the court of
jurisdiction over the subject matter.’ (quoting Dickson v. Navarro County Levee
Improvement Dist. No. 3, 139 S.W.2d 257, 259-60 (Tex. 1940)); id. (distinguishing
situations where legal right in question arose from contract rather than being conferred by
statute); State v. Gibson Products Co., Inc., 699 S.W.2d 640, 641 (Tex. App.—Waco 1985,
no writ) (“A case may also become moot when new legislation or acts are passed while a
case is pending on appeal which supersede existing legislation.”).

                                               7
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 13 of 31




       The products that are the subject of the parties’ agreement comprise Survitec marine

safety and survival rafts and parts. Because such rafts are used to transport people on water,

they are a form of watercraft, and thus constitute vehicles under the common meaning of

those term.6 Further, it is indisputable that Survitec’s rafts are not highway vehicles. Thus,

the Act does not apply to Survitec’s rafts.

B.     The Act would constitute unconstitutional retroactive legislation under the
       Texas constitution if applied to the parties’ dealership agreement.7
       The parties’ dealership agreement allowed for termination by either party without

cause. But the Act precludes a manufacturer from terminating a dealership agreement with

a supplier except “for cause.” Application of the Act to the parties’ agreement would thus

constitute the retroactive application of state law because the parties’ agreement predated

the effective date of the Act and continued past that date without alteration until terminated

by letter dated August 15, 2017, effective December 27, 2017.

       Under Texas law, however, retroactive legislation is presumed to be

unconstitutional. Thus, it is FPS’s burden to rebut that presumption based on the test set

forth in Robinson v. Crown Cork & Seal Co., 335 S.W.3d 126, 138 (Tex. 2010). As next

explained FPS cannot do so, and the Act therefore cannot be applied to the parties’

agreement.



6
  See, e.g., Merriam-Webster Online Dictionary (defining “raft” to include “a flat structure
. . . for support or transportation on water”; defining “watercraft” to include “craft[s] for
water transport”; and defining “vehicle” to include “a means of transporting something”),
available at www.merriam-webster.com.
7
 Survitec also incorporates by reference the arguments made in its earlier Rule 56 / Rule
52(c) motion on this issue. See supra note 2.

                                              8
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 14 of 31




1.     The Act
       In 2011, the Texas Legislature enacted the Fair Practices of Equipment

Manufacturers, Distributors, Wholesalers, and Dealers Act (“Act”), effective September 1,

2011. TEX. BUS. & COM. CODE § 57.001 et. seq.; H.B. 3079, 82nd Leg., Reg. Sess. (Tex.

2011), ch. 1039, § 4(a)(2).

       Under the Act, a supplier cannot terminate its dealership contract with a [non-single-

line] dealer except for “good cause.” Act § 57.154. The Act defines “good cause” to

include:

               “[a dealer’s] fail[ure] to substantially comply with essential
               and reasonable requirements imposed on the dealer under the
               terms of the dealer agreement, provided that such requirements
               are not different from requirements imposed on other similarly
               situated dealers either by their terms or by the manner in which
               they are enforced.”

Act § 57.154(a)(1).8 In addition, the Act requires that a supplier give a dealer 180 days’

notice before termination and further requires that the notice of termination both state the

reasons constituting good cause and provide the dealer with a 60-day cure period. Act

§ 57.155(a).

       As can be seen, if the Act were applied retroactively to a simple at-will contract with

few other terms, the Act would entirely eliminate a supplier’s prior power to terminate

based on (1) any general dissatisfaction with the dealer’s performance or (2) for business



8
 The Act provides other instances of “good cause,” including situations involving changes
of dealer ownership or control, dealer relocation, dealer insolvency, dealer conviction of a
crime, dealer financial default, and dealer cessation of business. Act § 57.154(a)(2)-(10),
(b).

                                              9
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 15 of 31




reasons particular to the supplier, such a desire to change the business model or leave the

geographic or product markets.

       Consequently, for a supplier to maintain any practical ability to terminate a dealer,

a supplier must reach an agreement with the dealer that defines the dealer’s performance

obligations in great detail, anticipating as many contingencies as possible and essentially

micromanaging the supplier, while also imposing all of those requirements on all other

similar-situated dealers of the supplier. Even then, however, it would not be possible to

protect the supplier’s ability to terminate for supplier-side reasons (e.g., changing its

business model, withdrawing from the local market). In addition, the Act specifically

prohibits any attempt to contract around its terms. Act § 57.003 (“An attempted waiver of

a provision of this chapter or of the application of this chapter is void”).

       The Act specifically provides that it applies to contracts entered after the Act’s

effective date (September 1, 2011) or to “a dealer agreement that was entered into before

the effective date of this Act, has no expiration date, and is a continuing contract.” H.B.

3079, 82nd Leg., Reg. Sess. (Tex. 2011), ch. 1039, § 4(a)(2). As next explained, the Act

would be unconstitutional if applied to the parties’ dealership agreement under Article I

§ 16 of the Texas Constitution.

2.     The Act is unconstitutional if applied to the parties’ agreement.
a.     The Act is retroactive.
       The term “retroactive” means “[e]xtending in scope or effect to matters which have

occurred in the past; retrospective.” Robinson v. Crown Cork & Seal Co., Inc., 335 S.W.3d

126, 138 (Tex. 2010). Thus, “[a] retroactive law is one that extends to matters that occurred


                                              10
    Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 16 of 31




in the past.” Tenet Hosps. Ltd. v. Rivera, 445 S.W.3d 698, 707 (Tex. 2014) (citing

Robinson, 335 S.W.3d at 138).

       Here, Act is retroactive by definition. In particular, the Act expressly provides that

it applies to “a dealer agreement that was entered into before the effective date of this Act,

has no expiration date, and is a continuing contract.” H.B. 3079, 82nd Leg., Reg. Sess.

(Tex. 2011), ch. 1039, § 4(a)(2).

       Thus, although Survitec’s termination of FPS post-dated the Act, Survitec acquired

its relevant contractual rights under the parties’ agreement prior to the Act. The Act’s

impact on those pre-existing rights thus constitutes a retroactive application of the Act. See

Bob Tatone Ford, Inc. v. Ford Motor Co., 197 F.3d 787, 792 (6th Cir. 1999) (holding under

Ohio law that a dealer protection statute retroactively impaired a contract because “[the

supplier] acquired its rights under the contract when the parties executed the agreements

and not when [the supplier] exercised those rights”).

       Put another way, by changing the parties’ agreement from “terminable at will” to

“terminable only upon cause,” the Act “attache[d] new legal consequences” to the parties’

decision to enter a dealership agreement, which constitutes a retroactive application of law.

See Vartelas v. Holder, 566 U.S. 257, 273 (2012) (stating that, under federal law, a statute

operates retroactively when it “attaches new legal consequences to events completed before

its enactment”).

       FPS has previously argued that a single continuing contract can be re-characterized

as a series of individual contracts. In turn, according to FPS, the parties’ agreement here

could be said to have ended at some point after the Act became effective and then a new

                                             11
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 17 of 31




agreement between the parties arose, such that the Act’s application to the new agreement

would not be retroactive.

       FPS’s prior argument was based on dicta from a Fifth Circuit case that was never

applied in that case,9 and the undersigned is unaware of such an argument being accepted

except by a Maryland court in answer to a certified question from the Eleventh Circuit. See

John Deere Const. & Forestry Co. v. Reliable Tractor, Inc., 957 A.2d 595, 602 (Md. 2008).

However, that result (itself a 4-3 decision) is a true outlier in terms of contractual

construction principles, as the dissent clearly demonstrated:

              No court has held, until the Majority here, that the continuation
              of an at-will contract beyond the notice for termination period
              is the equivalent of the parties ‘making’ a series of independent
              contracts.

Id. at 604 (Harrell, J., dissenting) (collecting federal and state court decisions from Maine,

Illinois, Minnesota, Wisconsin, South Carolina, and Ohio supporting the proposition that

a contract terminable at will becomes a new contract only when parties agree to modify its

material terms or renew it after a predefined expiration date).10

       Here, there is no evidence that, after the effective date of the Act, the parties (1)


9
  In that case, the Fifth Circuit opined in dicta that a contract terminable by either party on
30 days’ notice “might be construed as a month-to-month agreement which automatically
reconducts itself each month.” Northshore Cycles, Inc. v. Yamaha Motor Co., 919 F.2d
1041, 1043 (5th Cir. 1990) (emphasis added). The case involved a Louisiana law which
the Court ultimately held violated the Contracts Clause of the federal constitution.
10
  Even the Eleventh Circuit (which had asked the certified question) criticized Maryland’s
answer and effectively ignored it by interpreting the contractual issue as a matter of federal
common law and finding that application of the statute at issue would violate the federal
Contracts Clause. Reliable Tractor, Inc. v. John Deere Constr. & Forestry Co. 376 F.
App’x 938 (11th Cir. 2010).

                                              12
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 18 of 31




modified or removed any specific term of their agreement; (2) added any specific new term;

or (3) renewed the agreement after any predefined expiration date. The agreement thus was

a single contract with an ongoing duration that continued in force until Survitec terminated

it. The Act’s modification of the agreement’s termination provision is thus retroactive.11

b.     Retroactive application of the Act to the parties’ agreement violates Article I § 16
       of the Texas Constitution.
       Article I § 16 of the Texas Constitution provide that “[n]o bill of attainder, ex post

facto law, retroactive law, or any law impairing the obligation of contracts, shall be made.”

Although this does not render the retroactive application of every law affecting contracts

unconstitutional, retroactive laws are presumptively unconstitutional and this “heavy”

presumption can only be overcome through a “compelling” public interest:

              “[Section 16] protects [the] settled expectation[] that rules are
              to govern the play and not simply the score, and [it] prevents
              the abuses of legislative power that arise when individuals or
              groups are singled out for special reward or punishment.

              ...

              There must be a compelling public interest to overcome the
              heavy presumption against retroactive laws.”

Robinson v. Crown Cork & Seal Co., 335 S.W.3d 126, 145-46 (Tex. 2010). Put another

way, “[t]he presumption is that a retroactive law is unconstitutional without a compelling

justification that does not greatly upset settled expectations.” Id. at 147.


11
  Survitec would also distinguish the present situation from cases holding that a new period
of limitations begins for each breach of certain contracts, such as loan agreements requiring
periodic streams of payments. Importantly, such holdings do not imply that a new contract
arises with each breach; rather, they simply demonstrate that a single contract can be
breached at multiple different times.

                                              13
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 19 of 31




       To determine if retroactive application of a particular statute is unconstitutional

under Texas law, a court must balance three factors:

       1. The nature of the prior right impaired by the statute.

       2. The extent of the impairment.

       3. The nature and strength of the public interest served by the statute as
          evidenced by the Legislature’s factual findings.

Id. at 139. As next explained, a consideration of these factors shows that the Act is

unconstitutional if retroactively applied to the parties’ agreement here.

       i.     The nature of the prior right impaired by the statute: here, the right was
              longstanding, vested, and mutual.
       The right impaired by the Act was Survitec’s right to terminate FPS’s status as a

Survitec dealer for any or no reason. What was the nature of this right? It was a mutual

right, as either party could protect its economic interests by terminating the contract at any

time. It was a longstanding right, dating back many years. It was a vested, rather than

contingent, right.12 And it was a fundamental right. Indeed, it is hard to image a contractual

term more fundamental to the parties’ contract than their agreed basis for ending their

contractual relationship.




12
   Chesapeake Operating, Inc. v. Denson, 201 S.W.3d 369, 372 (Tex. App.—Amarillo
2006, pet. denied) (the contractual allocation of production tax between royalty owner and
lessee of mineral lease was vested right). Before Robinson, a right’s status as vested would
automatically mean it could not be retroactively impaired. Id. Although a right’s status as
vested is no longer outcome determinative alone, it nonetheless remains a factor in
assessing the nature of the right in question.

                                             14
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 20 of 31




       ii.    The extent of the impairment: here, the right was completely eliminated and
              there was no “grace period” to preserve it.
       Under the agreement, Survitec could terminate FPS for any reason whatsoever. But

the Act eliminates Survitec’s right of termination by making dealership agreements

terminable by a supplier only for cause, where “cause” is defined in a limited way that

precludes any supplier-side issues, such as a need to change its business models or

withdraw from a market. In addition, to invoke a “for cause” termination, a supplier must

give 180-days’ notice and a 60-day period to cure.

       By forcing Survitec (but not FPS) to remain in a contractual relationship absent

cause, the Act radically changes the parties’ relationship. It give FPS a one-sided, quasi-

property right13 that did not previously exist, while taking away Survitec’s pre-existing

right to conduct its business where and with whom it wanted.

       Notably, this was not simply an alteration of a remedy (like a limitation on

contractual damages or the availability of attorney’s fees). It was an alteration of the

parties’ bargained-for consideration. In particular, Survitec never agreed to be in a business

relationship that would be perpetual absent specifically listed conditions established by a

future Legislature. Rather, Survitec agreed to be in a relationship that could fairly be

characterized as nearly the opposite of that.

       FPS has suggested that parties can have no reasonable expectations with at-will



13
  See Board of Regents v. Roth, 408 U.S. 564, 576-78 (1972) (describing contractual right
of discharge only for cause as a quasi-property right); cf. Nelson v. Weatherwax, 59 S.W.3d
340 (Tex. App.—Fort Worth 2001, pet. denied) (contract limiting discharge to good cause
confers tenure).

                                                15
    Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 21 of 31




relationships, but that is drastically wrong: they have the undeniably reasonable

expectation that they will not be forced to remain in the relationship perpetually if

circumstances arise that make the relationship no longer viable or desirable, including for

reasons that might never have been contemplated at the beginning of the relationship.

       Here, because the parties’ agreement was terminable at will, it was possible for the

parties to have a simple agreement with few material terms. By contrast, under the Act, in

order for a supplier to maintain any practical ability to terminate a dealer, a supplier must

reach an agreement with the dealer that defines the dealer’s performance obligations in

extreme detail, anticipating as many contingencies as possible and essentially

micromanaging the supplier, while also imposing all of those requirements on all other

similar-situated dealers.

       Of course, when the current parties entered their agreement, Survitec had no reason

to expect that a detailed agreement was required to protect, even partially, its termination

rights. Further, even if Survitec had any reason to believe that, Survitec still could not have

protected its ability to terminate the agreement for supplier-side reasons, such as changing

its business model or withdrawing from the geographic or product markets, as the Act

specifically prohibits any attempt to contract around any of its terms, as stated above.

       FPS has tried to downplay the Act’s impact on the parties’ agreement ostensibly

because there was a short gap between June 16, 2011 (when the Act was approved) and

September 1, 2011 (when the Act went into effect). 2011 Tex. Sess. Law Serv. Ch. 1039

(H.B. 3079). According to FPS, this gap should be construed as a “grace period” that saves

the Act from constitutional challenges.

                                              16
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 22 of 31




       The Supreme Court of Texas has upheld statutes that eliminate certain causes of

action when those statutes gave plaintiffs a period of time to file suit under the prior law

before the statute takes effect.14 Here, however, the 77 days between the Act’s approval

and the date it took effect are not a grace period because Survitec could not have taken

any action during that time to preserve the contract rights it had acquired before the Act.

       In particular, although Survitec in theory could have terminated the parties’

agreement on June 16, 2011 and then attempted in the next 77 days to negotiate a new

agreement that spelled out in detail all potential dealer-side issues Survitec could think of

that might arise in the future and give Survitec a reason to terminate the arrangement, even

that possibility wouldn’t turn the 77 day period into a grace period.

       First, FPS wouldn’t be required to accept the new agreement, so while it was a

course of action that might have protected some contractual rights, it was not guaranteed.

       Second, to be in compliance with the Act, Survitec would have had to impose and

enforce those conditions on all other similarly-situated dealers, which would change, not

preserve, Survitec’s existing rights vis-à-vis those dealers (who, in any event, also wouldn’t

be required to accept new terms).

       Third, Survitec still wouldn’t be able to include supplier-side issues into the

agreement (such as a need to change its business model or exit the market) as bases for


14
  See Union Carbide Corp. v. Synatzske, 438 S.W.3d 39, 58 (Tex. 2014); City of Tyler v.
Likes, 962 S.W.2d 489, 502 (Tex. 1997); Tenet Hosps. Ltd. v. Rivera, 445 S.W.3d 698
(Tex. 2014); cf. Allied Structural Steel Co. v. Spannaus, 438 U.S. 234, 247 (1978) (holding
that state statute which increased corporate pension obligations violated federal Contract
Clause, noting that the statute lacked “any provision for gradual applicability or grace
periods”).

                                             17
    Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 23 of 31




termination because the Act prohibits any waiver of the Act’s provisions, as explained

above.

         In short, the core right created by the parties’ agreement – the right to maintain a

simple at-will relationship – was impossible for Survitec to recreate during the gap period

or thereafter. Instead, Survitec could only: (1) abandon the FPS relationship completely;

(2) try to renegotiate a new, more specific contract with no assurance FPS would agree and

no supplier-side protections; or (3) just be trapped by the Act in the existing agreement.

The one thing Survitec could not do was keep the rights it had before.

         iii.   The nature and strength of the public interest served by the statute as
                evidenced by the Legislature’s factual findings: here, there were no findings.
         Under Texas law, “freedom of contract” is one of the most fundamental public

policies:

                “As a fundamental matter, Texas law recognizes and protects
                a broad freedom of contract. We have repeatedly said that if
                there is one thing which more than another public policy
                requires it is that men of full age and competent understanding
                shall have the utmost liberty of contracting, and that their
                contracts when entered into freely and voluntarily shall be held
                sacred and shall be enforced by Courts of justice.”

Nafta Traders, Inc. v. Quinn, 339 S.W.3d 84, 95-96 (Tex. 2011) (internal quotation marks

omitted)). As a result, for a law to retroactively impair legal rights and overcome the heavy

presumption of unconstitutionality, the law must serve a compelling public interest, as

evidenced by the Legislature’s factual findings.

         Here, what was the public policy behind the Act? According to the Act’s sponsor,

“[t]he purpose of this law is to protect dealers from changes imposed by a supplier if the


                                              18
    Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 24 of 31




changes are substantial and negatively impact the dealer’s business” and “[t]he reason this

protection is needed is that dealers have no negotiating power to prevent suppliers from

inserting contract language that gives the suppliers the legal right to take actions that harm

a dealer’s business.” Tex. S. Jour., 82nd Legislature, 2011 Reg. Sess. No. 67 (May 25,

2011).

         In other words, the Act’s purpose was to strengthen dealers’ negotiating power with

respect to suppliers, as by giving dealers an unwaivable quasi-property right to be

terminated only for cause.

         The Legislature then declared that conferring this benefit on dealers served the

broader public interest:

               “The legislature finds that the retail distribution, sales, and
               rental of [applicable] equipment through the use of
               independent dealers operating under contract with the
               equipment suppliers vitally affect the general economy of this
               state, the public interest, and the public welfare. Therefore, the
               legislature determines that state regulation of the business
               relationship between the independent dealers and equipment
               suppliers as contemplated in the . . . Act is necessary and that
               any action taken in violation of this Act would violate the
               public policy of this state.”

H.B. 3079, 82nd Leg., Reg. Sess. (Tex. 2011), ch. 1039, § 1.

         For two reasons, the above stated purpose and policy are inadequate to enable the

Act to be applied to the parties’ agreement:

         (a)   The “public” interest was not compelling; it was special interest group
               politics.
         It is perhaps unsurprising that a member of the state legislature would declare it

important to improve the negotiating power of equipment dealers, who are likely to be local

                                               19
    Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 25 of 31




business owners, over suppliers, who are likely to be out-of-state companies. And no doubt

the Act’s sponsor believed that what was good for local equipment dealers was good for

Texas. Applied prospectively, this type of legislative judgment is a typical example of

special interest group politics and legally acceptable.

       But when retroactive legislation is involved, something more than ordinary interest

group politics is required to interfere with existing contract rights, even where that

interference “relatively small”:

        “[T]he constitutional prohibition against retroactive laws . . . prevents the
         abuses of legislative power that arise when individuals or groups are
         singled out for special reward or punishment.”

        “[T]he prohibition would be deprived of most of its force” if “[t]he
         perceived public advantage of a retroactive law” were just “balanced
         against its relatively small impact on private interests”

Robinson, 335 S.W.3d at 145-46. Consistently, in prior Texas cases upholding retroactive

legislation, the required “compelling justification” was never the favoring of one business

interest over others:

       In one case, the Court upheld the retroactive impairment of a landowner’s right to

extract unlimited ground water from the Edwards Aquifer. Barshop v. Medina County

Underground Water Conservation Dist., 925 S.W.2d 618, 623, 635 (Tex. 1996). In a

second case, the Court upheld a statute that let the State terminate the parental rights of

incarcerated individuals, even those convicted prior to its enactment. In re A.V., 113

S.W.3d 355, 361-62 (Tex. 2003).

       In the first case, the compelling public interest was located in the Texas Constitution

itself, as Article XVI § 5(a) directs the Legislature to enact statutes for the “preservation
                                             20
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 26 of 31




and conservation of all such natural resources of the State.” And in the second case, the

Legislature was acting in the best interest of a particularly vulnerable class of children. In

both cases, the state’s exercises of police power were clearly valid “to safeguard the public

safety and welfare.” Robinson, 335 S.W.3d at 160.

       Here, the Act doesn’t preserve natural resources or protect children; it rewrites long-

standing, economic relationships previously negotiated between business executives “of

full age and competent understanding.” Nafta Traders, Inc. v. Quinn, 339 S.W.3d 84, 95-

96 (Tex. 2011).

       Thus, even if “the end seems to justify the means,” Robinson, 335 S.W.3d at 146-

47, the protection of a subset of businesses in an industry is simply not a “compelling

justification.” Rather, it is an improper use of legislative power that “arise[s] when

individuals or groups are singled out for special reward or punishment.” Id. at 145.

       Indeed, even under the federal Contract Clause, which is more deferential to

legislative determinations with respect to private contracts,15 “leveling the playing field

between manufacturers and dealers,” as by equalizing the parties’ bargaining power, “is

expressly prohibited as a significant and legitimate public interest” that would justify

impairment of manufacturers’ rights under existing contracts. Equipment Manufacturers

Institute v. Janklow, 300 F.3d 842, 860-61 (8th Cir. 2002) (citing Allied Structural Steel

Co. v. Spannaus, 438 U.S. 234, 247 (1978)).


15
   Energy Reserves Group, Inc. v. Kansas Power & Light Co., 459 U.S. 400, 412-13 (1983)
(in a federal Contract Clause challenge to a statute whose “sole effect [is] to alter
contractual duties,” courts “defer to legislative judgment as to the necessity and
reasonableness of a particular measure,” unless “the State itself is a contracting party”).

                                             21
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 27 of 31




       (b)    The Legislature’s passage of the Act was unsupported by any factual
              findings.
       As shown above, the Act itself states that regulating “the business relationship

between the independent dealers and equipment suppliers” was necessary for the public

interest. And the Act’s sponsor stated that the purpose of the Act was to address dealers’

lack of negotiating power. But neither of those bare statements constitutes “factual

findings,” as required under Robinson.

       In particular, the Legislature did not hold any hearings or consider any evidence

before passing the Act. Thus, the Act’s statement of public policy is a conclusory

statement, not a factual finding. Likewise, although its sponsor made superficially factual

statements (e.g., “dealers have no negotiating power . . .”), those statements were

unsupported by any evidence and, more fundamentally, were never the subject of any

factual finding by the Legislature itself. And neither conclusory statements nor statements

unsupported by evidence could ever be said to constitute legislative “factual findings,” as

required to support a finding of constitutionality. See Robinson v. Crown Cork & Seal Co.,

Inc., 335 S.W.3d 126, 149 (Tex. 2010) (legal balancing test requires consideration of “the

nature and strength of the public interest served by the statute as evidenced by the

Legislature’s factual findings” (emphasis added)); id. (weighing the fact that “[t]he

Legislature made no findings to justify Chapter 149” in ruling that provision

unconstitutional).16


16
  The Court in Robinson also criticized the statement made by the principal House sponsor
of Chapter 149 as “fail[ing] to show how the legislation serves a substantial public
interest.” Id. at 149. To be clear, however, that Court did not suggest that a more specific
sponsor statement could itself substitute for legislative factual findings. Cf. also Sable
                                            22
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 28 of 31




                                      *      *      *

       Consistent with the above analysis, another judge in this district previously found

that the Act was unconstitutional under Article I § 16 of the Texas Constitution when

applied to a dealership agreement pre-dating the Act. See Associated Mach. Tool Techs. v.

Doosan Infracore Am., Inc., No. 4:15-CV-2755, 2015 WL 13660130, at *1 (S.D. Tex. Nov.

24, 2015) (unpublished).17 The issue in that case was the very same as this one: whether

the Act could retroactively impose a unilateral “for cause” termination requirement on an

at-will dealership agreement. The court ruled that it could not because of the substantial

impairment of settled expectations that would result:

              “Allowing the [Act] to amend the [parties’ agreement] would
              upend both parties’ ‘settled expectations’ that the contract
              would be enforceable as written. . . . The impairment of these
              rights is a substantial one, as it prevents [the supplier] from
              ever terminating the [parties’ agreement] without good cause.
              Section 57.203 of the Act lists various examples of ‘good
              cause,’ all of which require some sort of action by the dealer.
              Under this rule, it would seemingly be impossible for [the
              supplier] to ever implement its change in business model in
              Texas.




Communications of California, Inc. v. F.C.C., 492 U.S. 115, 129-30 (1989) (declining to
rely on a legislative conclusion where the congressional record lacked relevant legislative
findings beyond “conclusory statements” by proponents of the bill and similar bills); id. at
130 (stressing that “the congressional recorded . . . contains no evidence” or even a
“considered judgment” on the relevant issue); Hodel v. Virginia Surface Min. &
Reclamation Ass’n, Inc., 452 U.S. 264, 311 (1981) (Rehnquist, J., concurring in judgment)
(“[S]imply because Congress may conclude that a particular activity substantially affects
interstate commerce does not necessarily make it so. Congress’ findings must be supported
by a ‘rational basis’ and are reviewable by the courts.”).
17
  The district court’s decision was appealed, but the parties settled before any final
appellate determination.

                                            23
     Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 29 of 31




Id. at *3-4.18

                                     VII.   Conclusion
       For the above reasons and those previously presented, the parties’ agreement falls

outside the scope of the Act because Survitec’s marine survival and safety life rafts are not

“equipment” under the Act.

       Alternatively, retroactively applying the Act to the parties’ agreement violates

Article I § 16 of the Texas Constitution because doing so wipes out Survitec’s contractual

right to an open-ended relationship with FPS terminable at any time for any reason, while

giving Survitec no opportunity to preserve that right on an ongoing basis, yet allowing FPS

to keep its prior termination rights. This violates the public policy embodied in Article I

§ 16 of the Texas Constitution—i.e., that competent parties be free to determine their

relationship by contract without retroactive interference by statute—and otherwise furthers

no compelling public interest.

       Based on either of the above arguments, the Court should dismiss FPS’s claims

against Survitec because all are premised on the applicability of the Act to the parties’ pre-

Act agreement. Survitec also respectfully requests all such other and further relief to which

it may be entitled.



18
   Other federal courts have found similar state laws invalid under state and federal
constitutional challenges. See Bull Int’l, Inc. v. MTD Consumer Grp., Inc., 654 Fed. App’x
80, 84 (3d Cir. 2016) (decided under the Retroactivity Clause of the Ohio constitution;
collecting cases); Jack Tyler Eng’g Co. v. SPX Corp., 294 Fed. App’x 176, 180 (6th Cir.
2008) (decided under the Contracts Clause of the Tennessee constitution); Cloverdale
Equip. Co. v. Manitowoc Eng’g Co., 149 F.3d 1182 (6th Cir. 1998) (unpublished) (decided
under the federal Contracts Clause).

                                             24
Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 30 of 31




                                       Respectfully submitted,
                                       The McLauchlan Law Group PLLC
                                By:    /s/ Peter A. McLauchlan
                                       Peter A. McLauchlan
                                       Attorney-in-Charge
                                       Texas State Bar No. 13740900
                                       Federal Bar No. 6370
                                       Peter@McLauchlanLawGroup.com
                                       950 Echo Lane, Suite 250
                                       Houston, Texas 77024
                                       Telephone and Fax: (832) 966-7210
                                       David C. McLauchlan
                                       Of Counsel
                                       pro hac vice
                                       Illinois State Bar No. 1855166
                                       David@McLauchlanLawGroup.com
                                       The McLauchlan Law Group LLC
                                       401 N. Michigan Avenue, Suite 1200
                                       Chicago, IL 60611
                                       Telephone: 312-445-8544
                                       Fax: 312-445-8540

                                       Jeremy Gaston
                                       Of Counsel
                                       State Bar No. 24012685
                                       Federal Bar No. 26469
                                       jgaston@hcgllp.com
                                       HAWASH CICACK & GASTON LLP
                                       3401 Allen Parkway, Suite 200
                                       Houston, Texas 77019
                                       Telephone and Fax: (713) 658-9007

                                       Attorneys for Defendant Survitec
                                       Survival Products, Inc.




                                  25
    Case 4:19-cv-02162 Document 62 Filed on 02/03/21 in TXSD Page 31 of 31




                                   Certificate of Service
        I hereby certify that on February 3, 2021, a true and correct copy of the above and
foregoing document has been served electronically through the Court’s ECF electronic
filing system, pursuant to the rules of Court, on counsel for all parties of record as follows:
       Scott Matney, Esq.
       Attorney-in-Charge
       State Bar No. 24010747
       S.D. Tex. Federal Court No. 23671
       8050 Harrisburg Blvd.
       Houston, Texas 77012
       Main: (713) 924-9600
       Direct: (713)-924-9617
       Fax: (713)-924-9651
       Email: smatney@fps-usa.com
       Counsel for Plaintiff,
       Fire Protection Service, Inc.

                                                   /s/ Peter A. McLauchlan
                                                   Peter A. McLauchlan
                                                   Attorney-in-Charge
                                                   Counsel for Defendant,
                                                   Survitec Survival Products, Inc.




                                              26
